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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                            PLAINTIFF


v.                        No. 4:12-cr-246-DPM-24


GLEN HARSHAW
27231-009                                                       DEFENDANT


                                   ORDER

     Harshaw's motion for copies of his records, N2 701, is denied without

prejudice based on the waiver in his plea agreement. On 24 June 2013,

Barshaw pleaded guilty to Count 53 of the Indictment and "waive[d] all

rights, whether asserted directly or by a representative, to request or receive

from any department or agency of the United States any records pertaining

to the investigation or prosecution of this case[.]" N2 489 at 7.

      So Ordered.

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                                     D.P. Marshall Jr.
                                     United States District Judge

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